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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America

           v.                           Criminal No. 09-cr-97-04-JL

Matthew Chase


                                O R D E R


     The assented to motion to reschedule jury trial (document no.

98) filed by defendant is granted in part.



     This is the third continuance request, and the court's last

order provided that no further continuances would be granted

without a hearing.    The court is reluctant to grant another

request without a hearing, but will do so, while limiting the

continuance to 30 days.      No further requests for continuances

should be filed.    If the parties are unable to resolve or try

this case by the new trial date, a request for a status

conference, attended by defense counsel for all unresolved

cases, should be jointly made.


     Defendant shall file a waiver of speedy trial rights within

10 days.
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     The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(8)(B)(iv), for

the reasons set forth in the motion.



SO ORDERED.




                                           ______________________________

                                           Joseph N. Laplante
                                           United States District Judge

Date:    September 24, 2009


cc:
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